
25 So.3d 579 (2009)
W.S., the Father, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D09-4560.
District Court of Appeal of Florida, First District.
November 9, 2009.
W.S., pro se, Petitioner.
Bill McCollum, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
This petition seeking belated appeal of an order terminating parental rights is *580 dismissed without prejudice to petitioner's right to seek relief in the lower tribunal. See In Interest of E.H., 609 So.2d 1289 (Fla.1992) (stating that the proper procedure for seeking belated appeal from an order terminating parental rights is by a petition for writ of habeas corpus filed with the trial court).
VAN NORTWICK, and PADOVANO, JJ., and BROWNING, JR., EDWIN B., Senior Judge, concur.
